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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

REGINA JOHNSON, ON BEHALF OF HERSELF
INDIVIDUALLY AND ON BEHALF OF ALL
SIMILARLY SITUATED PERSONS                                                          PLAINTIFF

V.                                              CIVIL ACTION NO. 4:21-cv-00062-DMB-JMV

UNIVERSITY OF MISSISSIPPI AND
CLAY JONES, Individually and in His
Capacity as Director of Human Resources                                         DEFENDANTS

                                            ORDER

       Defendants University of Mississippi and Clay Jones have moved to dismiss certain of

the claims asserted against them in the above-styled case on several grounds, including Eleventh

Amendment immunity and qualified immunity.

       Under Local Uniform Civil Rule 16(b)(3)(B), “[f]iling a motion to compel arbitration, or

a motion asserting an immunity defense or jurisdictional defense stays the attorney conference

and disclosure requirements and all discovery, pending the court’s ruling on the motion,

including any appeal.” Consequently, the attorney conference, disclosure requirements, and all

discovery are stayed pending briefing and ruling on Defendants’ Motion to Dismiss [Doc. 7].

Counsel are directed to notify the undersigned within seven days of a ruling on the Motion to

Dismiss.

       SO ORDERED, this the 11th day of August, 2021.




                                            /s/ David A. Sanders
                                            U.S. MAGISTRATE JUDGE
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